Case 5:15-cv-06483-.]FL Document 1 Filed 12/04/15 Page 1 of 16

IN THE UNITED STATES DISTRICT COURT
F()R THE EASTERN DISTRICT OF PENNSYLVANIA

JULIA L. CATTANEO, :
NO:

Plaintit`f,
v.
CENTER FOR HUl\/IANISTIC
CHANGE, INC.,
Defendant.
NOTICE OF REMOVAL

 

Defendant, Center for Humanistic Change, Inc., by and through its counsel, Samuel E.
Cohen, Esquire and Gross l\/chinley, LLP, hereby files this Notice of Rernoval pursuant to 28
U.S.C. §1446, alleging in Support thereof as follows:

l. On or about August 19, 2015, Plaintiff Julia Cattaneo (“Plaintiff") initiated a civil
action by filing a Writ of Summons against Defendant Center for Hurnanistic Change, lnc_
(“Defendant”) in the Court of Common Pleas for Northarnpton County, Civil Division, entitled
Julia Caflaneo v. Centerjr)r Humanisrfc Change, Inc., bearing docket number C-OU4S-CV-2015-
7401.

2. On November 9, 2015, Plaintiff filed a Cornplaint and Notice to Defend in the
Court of Cornrnon Pleas and Served a copy of her filing upon Defendant. A true and correct
copy of Plaintiffs Complaint and Notice to Defend to attached hereto as Exhibit “A” and
incorporated herein by reference

3. Plaintiff's Complaint raises claims against Defendant for alleged violations of and

retaliation under the Arnericans with Disabilities Act, 42 U.S.C. §12101 et. Seq.,

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4. Accordingly, Defendant removes this action to the United States District Court for
the Eastern District of Pennsylvania pursuant to 28 U.S.C. §1446.

5. Rernoval is timely pursuant to 28 U.S.C. §i446(b) because 30 days have not
elapsed since Defendant’s receipt of the Complaint where it was first ascertained that this case is
one which is removable

6. This Court has original jurisdiction pursuant to 28 U.S.C. §1331 as the claims
arise under the Constitution, iaws, or treaties of the United States.

7. This Court has supplemental jurisdiction pursuant to 28 U.S.C. §1367 as the other
claims asserted in Piaintiff’s Complaint are so related to Plaintiffs claims arising under Federal
law that they form part of the same case or controversy

WHEREFORE, Defendant Center for Humanistic Change, Inc. respectfully requests that
the above action now pending against Defendant in the Court of Common Pleas of Northampton
County be removed from that Court to this Court.

Respectfully submitted,

GROSS l\/chlN LEY LLP

SAMUEL E. COHEN, ESQUIRE
PA ID No: 204617

Aftorneyfor Defendam

33 South 7th Street

PO Box 4060

Allentown, PA 18105~4060
Phone: (610) 820-5450

Date: \ ~3» \":'>"` Fax: (610)820-6006

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Exhibit “A”

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IN THE COU`RT OF COMMON PLEAS OF NOR'I`HAM]"T()N COUNTY,
PENNSYLVANIA 7 ~

J‘ULIA L. CATTANEO, Plainti;ff _
Case No. 2015-cv-07401

vs,

smart Fok` HUMANISHC cHANGE, mc.,
])efendant

NOTICB TO DEFEND

YOU HA`V'E BEEN SUED IN COURT. IF YOU WISH TO DEP`END AGAINST ’I'HE
CLAIMS SET FORTH IN 'I`HE FOLLOW]NG PAGES, YOU MUST TAK.E ACTION WITHIN
TWEN'I“Y (20) DAYS AFTER THIS COWLAINT AND NOTICE AR.E SERV`ED, BY
ENI`ERNING A WRITI`EN APPEARANCE PERSONALLY OR BY AN A'I`TORNEY AND
FILING IN WRITING WITH THE COURT YOUR DEFENSES OR OBJECTIONS TO THE
CLAIMS SET FORTH AGA]NST YOU. YOU ARE WAR_NED THAT IF YOU FAIL TO DO
SO TI-IE CASE MAY PROCEED WITHOUT YOU A.ND A ]'(_}'DGM]:",NT MAY BE ENTERBD
AGAINS'I` YOU BY THE COURT WITHOUT FUR.THER NOTICE FOR ANY MONEY
CLAIMED ].N THE COMPLAB~¥'I' OR FOR ANY OTHER CLAIM OR RELIEF REQUESTED
BY TI-IE PLAINTII"F. YOU MAY LOSB MONEY DR PROPERTY OR O’['H`ER RIGHTS
IMPORTANT TO YOU.

YGU SHOULD TAKE THIS PAPER TO YOUR lAWYER A'I` ONCE. IF YOU DO `
NOT HAVE A LAWYER. OR CANNOT AFFORD ONE., GO TO OR 'I'ELEPHONE THE
OFFICE SET FORTH BELOW 'I'O FIN'D OUT W'I-IERE YOU CAN GET LEGAL I-]_`ELP.

lehigh County Bar Association
1114 Walnut Su'eet
Ailcnmwn, Pa 18102
61 0-433-6204

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IN TH'.E COURT OF COM,MON PLEAS OF NORTHAMPTON COUN"I`Y,
PENNSYLVANI.A

JULIA L. CA'I`TANEO, Piainmi'
Case No. 2015-cv-07401

VS.

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CENTER FOR HIMANISIIC CI-IANGE, INC.,
Defemlant

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Cg_)_MPLAINT
Plaintiff Iulia Cattaneo, by and through her undersigned counsel, hereby
1. Plawtili't`, Julia Caiianeo (hereinnftcr “Plaintifl”) is an individual Who resides at 110

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Empire Couit, Bethlehem, Northampton County, Pennsylvania, 13020.
2. Defendant, Center for Humanistic Change, lnc., (hezeinafcer “Defendant”) is an entity

doing business at IOGA Cascade Drive, A.llentown, lehigh County, Pa. 18109.

3. Piaintiff began her employ with the Defendant when she was hired by Center for
Humanistic Change, Inc. (hereinafter "Dci`endant") on September 12, 2011 as an SAP
Liaisoanrogrsm Speeialist.

4. Plaintif£'s immediate supervisor was Karea Kohn (SAP Liaison Adrninish'ator) and
Defendant‘s Director is Mary Ellen Jackson. Ms. Jacicson was hired as Defendant‘s new
Directer while the Piaintifi` (whn had been hired by the old director) was already

employed.
5. Plaintifi` had no issues and experienced no harassment prior to Jackson’s hiring. Othe:r

coworkers of the Piaintifr' have Wimessed and commented on the unfair treatment to

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winch Plaintiff has been subjected, including Defendant's employees Katrina Sparoaic
and Shannon Malicovsky.

6. ln August of 2013, Plaintif£’ s 12 month position was demoted to a 10 month position,
also resulting in a reduction in pay. Jackson stated at the time that Plaintlff’ s new
position did not support a 12 month salary, although Plaintiif believes and avers she was
capable of doing the same work new full time hires Were doing

7 . ln Novemher of 201 3, both of Plaintifl’s parents became ill and her father ~ th had been
her mothers primary caregiver - passed away. Plaintifl’ asked for some flexibility in her
scheduling so she could care for her family, which elevated tensions with Jackson.
Plaintift`, upon information and belief, asserts that Jackson and other employees were
routinely granted flexibility to care for children and families

8. Throughout the remainder of 2013 into 2014, Piaintiff continued to experience a tense
Working environment 011 multiple occasions in Febraary, Plaintiif met with Jaokson to
ny to smooth out tensions but this did not prove frlntful.

9. In compliance with the 10 month scheduie, Plaintiff Worked until Juiy 3rcl, 2014 and then
began her summer break.

10t Piaintiff Workcd per diem, off salary, during the summon She returned to her full time,
salaried schedule on Septernber 2, 2014. At this point, she was expected to work 10-12
hour days as part of Defendant’s "Open House" schedule at the start of a school year.

11. On October 3, 2014, Plaintifftook a paid time olf day. On this date, Plaintift"s ex-
husband sidest passed away. ns he was the rather or her two chosen manson ex-
husband was an important member of the family. 'Ihe Piainti&” s son lives out of state and

it fell to the Plaintiff to assist her daughter in managing the estate

12.

13.

14.

15.

16.

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Pleintift` took PTO time to take care ofthis, which fta'ther mcreased tensions with
Jackson Jackson commented that Plaintiff’s children were adults, she implied that maybe
someone was taking advantage of the situation Plaintiff returned to work hill time on
October 20, 2014. Jeckson entailed Plaintiffon 10116/2014, Plaintifi"s P’I`O time would
be low upon return and any additional days would be without pay.

At the end of October 2014 the Plaintiii` begin seeing a doctor for sleep and anxiety
issues as well as for the possibilitythat she was suffering from tibromyaigia. She
notified lackson and the Defendant of all of her medical issues, including the fact that she
Was being tested for libromyalgia. Plaintiti` assured lackson she would complete all her
Work but may need flexibility in scheduling Jackson stated that the Plaintiff should do
whatever she needed to dc and she would afford flexibility

011 November 6, 2014, .lackson emailed a request that the Plaintitl` schedule a meeting
for the following week to discuss Plaintifi" s schedule At this meeting lackson withdrew
all flexibility in Plaintif.f’s schedule including unpaid time off This increased Plaint'cff’s
stress and amtiety; at which point her doctor placed her out on Short Term Disability
starting 11/24/2014 to 1/15/2015.

Jaclcson requested the doctor complete FMLA paperwork although larkson stated FMLA
did not apply. The doctor in addition to the Shott Term Disability paperworlc, completed
the FMLA papemork and requested upon Plaintiii" s realm there Would be a transition
period consisting of a 32 hour work week; 4 eight hour days per week.

The Plaintiii` was unable to realm to work on lanuary 15, 2015 as her mother was
suddenly hospitalized in intensive care and PlaintiE was her power of attorney who was

requested to stay at the hospital

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17. Plaintift`s mother passed away shortly thereafter. At this tirnc, Plaintiff had no PTO
time left as Jaclcson had used it to supplement Plaintifi’s medical leave, even though
Plaintiff requested it not be used. Jacl§son demanded that the Plaintiff return to work for
a 40 hour work week and claimed the information from her doctor was not sufficient to
grant her accommodations through the ADA.

1 S. Jaclcson towed Plaintiii`s request for accommodntions.

19. During this time, the Plaintifl` communicated with her short tenn disability insuranceo
who continue to update Jaeltson. On January 26, 2015, the Plaintiff returned to Work and
met Wit.h Jackson to again discuss her need for a reasonable accommodation Plaintil’f
was concerned about muller jeopardizing her health by violating her doctor's ordets
regarding a reduced 32 hour work week. She needed to have one day off per week due to
the pain she was experiencing from fibromyalgia.

20. Jackson insisted that the Pla.intiff get more infonnation nom her doctorl and insurance,
and also told her to sign a H]PPA fomi so Jaclcson could directly communicate with the
Plaintif£’s doctor. The Plaintiff Was not comfortable with signing sHIPPA release, as
such a xelease would allow lackson extensive access to Pla,inti.ff’s private medical
infonnation. lnstead, Plaintiff continued to submit timber questions to her doctor and
insurance company and provided the responses to lackson. This was also the suggestion
of both her doctor and short mm disability insurance company

21. On laundry 27, 2015 the Plainliii`wes scheduled to attcnd, as SA.P Lieison, an A.llentown
I-Iigh School SAP team meeting but the meeting was canceled due to inclement weather.
Plaintift` believes and avers that on January 26“‘, when it looked like the weather could

cancel the day, she had permission to stay hox;ne, as per discussions With Jaclcson.

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22. Jacksou emailed PlainiiB` on january 27, 2015 and said (despite the canceled meeiing)
that if the Plainti§ did not come in, she would be resigning her position 'I'he Plaintiii`
responded that she wm not resigning lackson emaiied her back with a termination letter.

23. Plainti:ff dual iiied a Charge of })iscrimination with the Equai Employment Opportunity
Commission and the Pennsyivania Human Relations Cominission wider the Americans
with Disabilities Act (ADA).

24. Plaintiff exhausted her administrative remedies with the EEOC and received a Notice of
Right 130 Sue.

25. This lawsuit was filed \arithin ninety days of the EEOC’s issuance of said Notice of Rigbt

to Suc on May 26, 2015 (See Attached).

COUNT I

meATloN oF THE AMER!C.ANS wITH DISABILH'IES ACT
42 U.s.c. sECHoN 12101 e:. s¢q.

26. Pla’mtiff incorporates herein by reference thereto paragraphs i through 21 as ifthe same
were more fully set forth at length herein

27 . Piainti€ experienced mental and physical health issues as noted above, Which She
brought to the attention of her employee

28. Plai.nti&" believes, and therefore avers, that her mental health and physical health
conditions constitute a “disabiiity” within the meaning set forth in the Americans with
Disabilities Act, 42 U.S.C. Seciion 12101, et seq. and 29 C.F.R. Section 1360.2 (f) and
(3)-

29. Piaintiff believed and therefore avers, that pursuant to 42 U.S.C. and Section 12102(2),

Plaintifi` suffered from a mental health condition and physical health condition that

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substantially limited one or more of her major life activities Plaintiff has s record of such
impairment, and!or Defendant regarded Plaintifl’ as having such ao impairment.

30. Plaintiff had to take time off ii:onl work prior to her termination due to the serious effects
of her illness,

31. Plainti&` presented Defendaut with medical documents, omitting her health conditions
and restrictions on her ability to work et certain times

32. Piainti&` believes and therefore avers, that she could perform the essential ftmctions of
her job with the Defendant, as dedned by 29 C.F.R. Section 1630.2(n), with a reasonable
accommodation

33. The Plaintiff believes, and dierefore svers, that the reasonable accommodation that she
Would have expected from the Defendant Would not have constituted any significant
hardship to the Defendsnt.

34. Defendant refused to gain the Plaintiff a reasonable accommodation in violation of the
Americans with Disabilitles Act rogulal:ions, 29 C.F.R. Section 1630.2{0), i.e. by the
Defendant’s refusal to provide PlaintiH with appropriate accommodations set forth
hereinabove.

35. Piaintiff believes, and therefore avcrs, that the Defendant terminated her employment
because of her disability, es set forth hereinabove .

36. Plaintifi` heliovcs, and therefore avers, that the Defendant regarded hen as being disabled

37. As a result of the Defendant’s illegal oonduct, the Plaintiff has suffered and Will continue
to suffer impossible injury caused by the Defendant’s conduct

38. By reasons of the malicious want and willful conduct of the Defendant, Plainti&`

demands punitive damages

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WHER.EFORE, Plaintiff respectfully invokes the remedial powers of this Court as provided in

the Americans with Disabilities Act, 42 U.S.C. Seotion 12101, et seq., and prays for the

following:

a.

Tbe Defendant be permanently enjoined from discriminating against the Plaintiff on
any basis forbidden by the Americans with Disabilities Act, 42 U.S.C. Seotion 12101,
er. seq.;

The Defendant be ordered to compensation reimburse and make whole the Plaiatiff
for all benefits the Plaint:iH`would have received had it not been for the Defendant’s
illegal actions including, but not limited to: pay, benefits, training, promotions
seniority, stock options, and bonuses Plaintift` should be afforded said benefits
illegally Withheld from the date of the Plaintifi’s tenuination until the date the
Plaintii§ is tendered substantially equivalent employment with interest, on the above
Withheld amounts to the date ofpayment:

Damagec to the Plaintiff to compensate Plaintiii'for loss of opportunity, pain,
suffering or other damage duly proved to have been suffered by Plaintin' because of
Dei`endant’s unlawful conduct;

Punitivc damages calculated to be sufficient to deter such misconduct in the future;
An award of interest on the above amounts of unpaid wages illegally denied;

The cost of this action and a reasonable attorney’s fee paid to Piaintiff',

Any other relief, equitable or legal, appropriate to remedy the illegal treannent of the
Plaintiff by the Defendant, and

The Plaintiff demands trial by jury.

COUNT ll
UNLAWFUL RE’I`ALIATION IN VIOLATION OF

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'I`HE AMERICANS WI‘ITI DISABILI'I`IES ACT

39. Plaintiti` incorporates herein by reference to paragraphs 1 through 34 38 as if the same
Were more fully set forth at length herein.
40. Plaintiff engaged in protected activity by asserting her right not to be discriminated
against under federal lew, based on her request for reasonable leave time.
41. Plaintih? suffers from a medical condition lmown as Bbromyalgia as Weii as depression,
anxiety and stress
42. Piaintiff beiieves, and therefore avers, that adverse employment actions were taken
against Plaintifl:` discriminating against her due to disability.
43. Plaintiff believes, and therefore evers, accommodations Were necessary for her since she
has a disability that makes it difficult to work in a high stress environment
44. Plaint:i§ believes, and therefore avers, that her employment termination was carried out in
retaliation for her needing accommodations due to her disability
45. Plaintift` su&ered damages ns a result of the actions oftbe Defendant
46. By reasons of malicious wanton, and Will:{i)l conduct of the Defendant, Plaintiff demands
punitive damages
WI-[EREFORE, Plai.nti&` respectfully invokes the remedial powers oftbis Court as provided in
the Americans With Disabilities Aet, 42 U.S.C. Section 121_01, et seq., and prays for the
following
a. '.['he Defendant be permanently enjoined from discriminating against the Plaintiff on
any basis forbidden by the applicable law prohibiting retaliation;
b. The Defendant be ordered to compensate reimburse, and make whole the Pleintiff for

all the benclits, training, promotions, and seniority Plainti§:` should be accorded said

Case 5:15-cv-06483-.]FL Document 1 Filed 12/04/15 Page 13 of 16

benefits illegally withheld from the date of Plaimi.ff’ s tennination until the date the
Plaintiff is tendered substantially equivalent employment with interest on the above
withheld amounts to the date of payment

o, Damages to the Pleintifi` to compensate PlaintiE for loss of opport\mity, pain,
suffering or other damages duly proved to have been suffered by Plaintif€ because of -
Defendant’s unhth diserimination; l

d. Pu:nitive damages calculated to be sufficient to deter such misconduct in the future;

e. An award of interest on the above amounts of unpaid Wages illegally denied;

f. The cost of this action and reasonable attorney’s fees paid to Plain\iii`;

g. Any other relief equitable or legal, appropriate and power to remedy the illegal
treatment of the Plaintiff by the Defendant; and

h. The Plaintii`f demands a trial by jury.

COUNT 111
VIOLATION OF PENNSYLVA`NIA HUN_[AN R.ELATIONS ACT

47. Piaintiff incorporates herein by reference thereto paragraphs 1 through 42- (46) as if the
same were more fully set forth at length hereinl

48. Plaintifi` filed a disability discrimination charge with the EEOC based on her actual and
perceived disabilities.

49. Plaimiff` exhausted her administrative remedies with the Pennsylvania Human Relations
Commission by cross-filing her administrative complaint With the PI-}'RC.

50. 'Ihe actions of the Defendant violate the prescriptions of the Pennsylvania Human
Relations Act against retaliation against an employee who has raised issues of disability
discrimination in the Woricpiace.

WHEREFORE, Piaintiii` respectfully requests that this Court:

Case 5:15-cv-06483-.]FL Document 1 Filed 12/04/15 Page 14 of 16

Adjudge andldecree that Det`endant violated the Pennsylvania Human Relations Act;

. Grent Pleintifi` a permanent injunction prombiv’ng Defendant from engaging in any
employment ects, pelicies, practices or procedures which may retaliate against employees
who have raised issues of discrimination in the workplace

. order nefendaue m reinstate Piaintiew her last held position, er in the alternative to
pay damages for lost future Wages;

. Order Defendant to reimburse Pleintifffor wages and other employment benefits lost as a
result of the xeteiiatory policies and practices of the Defendant, including but not limited
to back pay and front pay with prejudgment interest5 lost health benefits, lost pension
contributions, and lost future earning capecity, in amounts to be proven act trial;

. Award Plaintii`f compensatory damages, including for emotional dimees suffered as a
result of Defendant’s retaliatory treatment

Awald Plaintiff the costs of this action, together with reasonable attomey’s fees; and

. Grrant Plaintiff such additional equitable and legal relief as is just and propet.

Respect:fully submitted,

DONALD P. RUSSO, ESQU]RE
Attemey for Piaintifl`, Julia Cattaneo
P.O. Box 3098

Easton, PA 13043

(610) 954-8093

Attorney I.D. No. 25873

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Case 5:15-cv-O6483-.]FL Document 1 Filed 12/04/15 Page 16 of 16

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

JULlA L. CATTANEO, :
NO:

Plaintiff,
v.
CENTER FOR HUMANISTIC
CHANGE, INC.,
Defendant.

CERTIFICATE OF SERVICE
l hereby certify that on December L\_, 2015, a true and correct copy of the foregoing
Notice of Removal With Exhibit Was Sent to:

 

Via Hand-Delive[y Via Overnight Deliverv

Clerk, United States District Court Offlce of Court Administration
for the Eastern District of Pennsylvania Northampton _County Courthouse
504 Harnilton Street 669 Washington Street

Easton, PA 18042 A]lentown, PA 18101

Via Fax and U.S. Mail
Donald P. Russo, Esquire
PO Box 3098

Easton, PA 18043

Ph: 610-954-8093

Fx: 610-438-3010
Attomeyfor Ffainl'g`j”

GROSS MCGINLEY, LLP

By:

 

SAMUEL E. COHEN, ESQUIRE
PA ID No: 204617
Attorney for Defendant
33 South 7th Street
PO Box 4060
Allentown, PA 18105-4060
Phone: (61()) 820-5450
ome \`¢.~ \~\_» \‘5 Fax; (610) 820-6006

